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                          U NITED STA TES D ISTRIC T C O U R T
                          SO UTH ER N D ISTRIC T O F FLO RID A

                    CA SE N O .15-cv-80496-M A R M /M A TTH EW M A N

 SECU R ITIES A ND EX C H AN G E C O M M ISSIO N ,
                    Plaintiff,


 D AN IEL P.M CK E LVEY etaI.,
                    D efendants,
 and

 A U C O N SULT IN G LL C etaI.,
                      R eliefDefendants.


             JUDV AR NT AS TO RELIEF DEFENDANT ILENE P.M IRM AN
       The Securitiesand Exchange Com m ission having tiled a Com plaintand ReliefDefendant

 llene P.M innan (iûReliefDefendant'')having entered a generalappearance'
                                                                        ,consented to the
 Court'sjurisdiction overherandoverthesubjectmatterofthisaction'
                                                               ,consentedto entry ofthis
 Judgm ent w ithout adm itting or denying the allegations of the Second A m ended Com plaint

 (exceptastojurisdictionl;waived findingsoffactandconclusionsoflaw;andwaived any right
 to appealfrom thisJudgm ent:

                                             1.

                                    D ISG O R G E M EN T

       IT IS O R DER ED A ND A DJU D G ED thatRelief D efendantshallpay disgorgem entof

 ill-gotten gains and prejudgmentinterestthereon. The Courtshalldetermine the amountof
 disgorgementupon motion ofthe Commission. Prejudgmentinterestshallbe calculated from
 June l, 2014 based on the rate of interest used by the Internal Revenue Service for the

 underpaymentoffederalincometaxassetforthin26U.S.C.j662l(a)(2).
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        ln connection w ith the Com m ission's m otion tbr disgorgem ent and at any hearing held

 on such a motion:(a)ReliefDefendantwillbe precluded from arguing DefkndantsDanielP.
 M cK elvey,A lvin S.M irm an,Steven Sanders,ScottF.Hughes,Jeffrey L.Lam son and Edward

 G . Sanders did not violate the federal securities law s as alleged in the Second A m ended

 Complaint'
          ,(b)ReliefDetkndantmay notehallengethevalidityofthisConsentortheJudgment;

 (c)solely forthe purposesofsuch motion,the allegationsofthe Second Amended Complaint
 shallbeaccepted asand deemed trueby theCourt;and (d)the Courtmay determinetheissues
 raised in the m otion on the basis of affidavits, declarations,excerpts of sw orn deposition or

 investigative testim ony,and docum entary evidence,w ithoutregard to the standards forsum m ary

 judgmentcontained in Rule 56(c)oftheFederalRulesofCivilProcedure. ln connection with
 the Com m ission's m otion for disgorgem ent,the parties m ay take discovery,including discovery

 fkom appropriate non-parties.

                                               II.

                             IN CO RPO R A TIO N O F CO N SEN T

        IT IS FU RTH ER O R DE RED A ND A DJUD G ED that the Consent filed herew ith is

 ineorporated with the sam e force and effed as iffully setforth herein,and thatReliefD efendant

 shallcom ply w ith allofthe undertakings and agreem entssetfol'th therein.

                                               111.

                              R ETEN TIO N O F JUR ISDIC TIO N

        IT IS FU RTH ER O RD ER ED A N D AD JU D G ED that this Court shall retain

 jurisdictionoverthismatterandoverReliefDefendantforthepurposesofenforcingthetermsof
 this Judgm ent.
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        DONE AND ORDERED in Chambersin W estPalm Beaeh,Florida,this/0 day of
                               >2016.




                                        K EN N ETH A .M A    A
                                        UN ITED ST ATE S D IST RIC T JU D G E

 Copiesto:

 CounselofRecord

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